     Case 1:98-cr-00019-MP-AK          Document 1550         Filed 03/14/08       Page 1 of 2


                                                                                          Page 1 of 2


                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                                             CASE NO. 1:98-cr-00019-MP-AK

RONALD ALLAN COHEN,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 1546, Report and Recommendation of the

Magistrate Judge, which recommends that Ground Two of Defendant’s Motion to Vacate, Doc.

1421, be denied. The Magistrate Judge filed the Report and Recommendation on Tuesday,

February 12, 2008. The parties have been furnished a copy of the Report and have been afforded

an opportunity to file objections. Pursuant to Title 28, United States Code, Section 636(b)(1),

this Court must make a de novo review of those portions to which an objection has been made.

In this instance, however, no objections have been filed.

       In the remaining ground of his motion to vacate, Defendant alleges that counsel’s

performance was constitutionally deficient. After reviewing each allegation of ineffective

assistance, the Magistrate concludes that Defendant’s claims are without merit, and that the

motion to vacate should be denied. Many of the issues raised by Defendant have already been

rejected on their merits by the Eleventh Circuit on direct appeal of this case, and Defendant

cannot show any resulting prejudice from the remaining allegations of ineffective assistance.

Therefore, having considered the Report and Recommendation, and the lack of objections

thereto, I have determined that it should be adopted. Accordingly, it is hereby
     Case 1:98-cr-00019-MP-AK          Document 1550       Filed 03/14/08    Page 2 of 2


                                                                                        Page 2 of 2


        ORDERED AND ADJUDGED:

        1.       The Report and Recommendation of the Magistrate Judge is adopted and
                 incorporated herein.

        2.       Ground Two of Defendant’s Motion to Vacate, Doc. 1421, is DENIED.

        DONE AND ORDERED this           14th day of March, 2008


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge




Case No: 1:98-cr-00019-MP-AK
